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          IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:05CR342
                              )
          v.                  )
                              )
SHERRY MONIZ DUEY,            )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court after defendant entered

a plea of guilty to an information (Filing No. 96).              The Court

finds that defendant should be released pending sentencing on the

same terms and conditions with the exception that Paragraph 7(r)

will be modified to exclude electronic monitoring.              Accordingly,

           IT IS ORDERED that defendant is released on the same

terms and conditions as previously released with the exception

that Paragraph 7(r) is modified to exclude electronic monitoring.

           DATED this 19th day of May, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
